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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ X
MUNJRAAKHTER FAROOQI, IFTIKHAR
HUSSAIN, and SYED MUHAMMAD ADEEL,

                                   Plaintiffs,
                                                                             JUDGMENT
                                                                             18-CV-5076 (ILG)
                          v.

MICHAEL R. POMPEO, SECRETARY OF
STATE; CARL C. RISCH, ASSISTANT
SECRETARY OF STATE FOR CONSULAR
AFFAIRS; KEVIN MCALEENAN, ACTING
SECRETARY OF HOMELAND SECURITY,
and KENNETH CUCCINELLI, ACTING
DIRECTOR OF UNITED STATES CITIZENSHIP
AND IMMIGRATION SERVICES,

                                    Defendants.
--------------------------------------------------------------------------X
         An Order of Honorable I. Leo Glasser, United States District Judge, having been filed on

September 16, 2019, dismissing plaintiffs’ amended complaint against defendants and all claims

therein, with prejudice, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii), without costs, fees, or

expenses to any party as against any other; it is

        ORDERED and ADJUDGED that plaintiffs' amended complaint against defendants and

all claims therein are dismissed, with prejudice, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii),

without costs, fees, or expenses to any party as against any other.

Dated: Brooklyn, NY                                                    Douglas C. Palmer
       September 17, 2019                                              Clerk of Court


                                                                       By:   /s/Jalitza Poveda
                                                                             Deputy Clerk
